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10                            IN THE UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                         OAKLAND DIVISION

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     GRACE SMITH and RUSSELL                                  Case No. 4:21-cv-07872-HSG
15   RAWLINGS, on behalf of themselves and
     all others similarly situated, and                       [PROPOSED] ORDER GRANTING
16   CALIFORNIA FOUNDATION FOR                                DEFENDANT DMHC AND DIRECTOR
     INDEPENDENT LIVING CENTERS, a                            WATANABE’S MOTION TO DISMISS
17   California nonprofit corporation,

18                                          Plaintiffs,
                                                              Date: April 28, 2022
19                 v.                                         Time: 2:00 pm
                                                              Dept: Courtroom 2, 4th Floor
20                                                            Judge: The Honorable Haywood S. Gilliam, Jr.
     MARY WATANABE, in her capacity as
21   Director of the California Department of
     Managed Health Care; CALIFORNIA
22   DEPARTMENT OF MANAGED HEALTH
     CARE; and KAISER FOUNDATION
23   HEALTH PLAN, INC.,

24                                       Defendants.

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                                                          1
       [Proposed] Order Granting Defendant DMHC and Director Watanabe’s Motion to Dismiss (4:21-cv-07872-HSG)
      Case 4:21-cv-07872-HSG Document 34-3 Filed 02/04/22 Page 2 of 2



 1         The motion of defendants California Department of Managed Health Care and its Director,

 2   Mary Watanabe to dismiss plaintiffs’ complaint for lack of subject matter jurisdiction and for

 3   failure to state a claim upon which relief may be granted came on for hearing before this Court on

 4   April 28, 2022. After consideration of the papers filed in support of and against the motion, the

 5   argument of counsel, and all other matters presented to the Court, the motion is GRANTED

 6   WITHOUT LEAVE TO AMEND.

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 8         IT IS SO ORDERED.

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     Dated: ___________________________                      __________________________
11                                                           The Honorable Haywood S. Gilliam, Jr.
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        [Proposed] Order Granting Defendant DMHC and Director Watanabe’s Motion to Dismiss (4:21-cv-07872-HSG)
